  8:06-cr-00092-JFB-FG3             Doc # 25   Filed: 06/01/06    Page 1 of 1 - Page ID # 39




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR92
                                                  )
HEATHER DAWN CRONKHITE,                           )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )


       IT IS ORDERED that the following is set for hearing on June 5, 2006 at 10:00 a.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Bond Hearing

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 1st day of June, 2006.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
